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       FTI CONSULTING, INC.
       HEALTH SOLUTIONS PRACTICE



                        AmerisourceBergen Corporation
                        CSRA Process Review, Phase 1
                               Narrative Report




                                                                CRITICAL THINKING
                                                                AT THE CRITICAL TIME™

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       Project Overview and Scope
       AmerisourceBergen Corporation ("Amerisource" or "ABC" or "the Company") retained FTI Consulting Inc.
       ("FTI") to assist the Company with an assessment of its current state processes and associated compliance
       activities within the Corporate Security and Regulatory Affairs ("CSRA") department. The objectives of this
       project were to review, map and document current state processes; identify any critical process gaps and
       areas for improvement; develop recommendations for process improvements and gap remediation; and
       scope the initial functional requirements for a technology solution(s) or technology enhancements identified
       as part of the recommendations. This phase of the engagement was focused on assessing the current state
       of the CSRA Department, with a potential second phase envisioned that will focus on the implementation of
       those recommendations, including the development of any technology solution(s) and/or enhancements.

       FTl's work for Phase One included the following steps:
            I.      Information and Data Gathering
            II.     Map and Assess Current State Processes
            Ill.    Identify Findings and Recommendations




       FTl's work considered the following key functional areas within CSRA's operations:

           I. Diversion Control
           II. Regulatory Oversight
           Ill. Investigations
           IV. Network Calls
           V. Security Programs
           VI. Business Continuity
           VII. General Purpose CSRA Projects
           VIII. Project Management

       The purpose of this narrative report is to document the procedures performed by our team; provide an
       overview of our detailed findings and observations; explain the framework of our recommendations for
       CSRA process improvements and gap remediation; and introduce the initial design requirements for
       potential technology solution(s) and/or enhancements.

       A few points should be noted before summarizing the review and our findings, observations and
       recommendations. First, this review employed a focused scope to understand the key activities performed
       by the CSRA Department in order to formulate recommendations related to potential process
       improvements and technology enhancements. We have not conducted a deep-dive into all of the business
       units, functions or activities. The implementation of any recommended actions will be an iterative process
       that will require additional information from the business. For example, the high-level system requirements
       will need to be developed into a formal Business Requirements Document should the Company decide to
       pursue a Phase Two of this engagement.




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       Second, we have not done a deep dive into all of the pharmacy and specialty operations in order to fully
       understand the scope of their processes and requirements. However, our recommendations contemplate
       further definition regarding CSRA's oversight to the non-distribution operations and a technology solution
       that would be scalable to incorporate additional business activities and needs.



       Information and Data Gathering
       During the course of our assessment, FTI gained an understanding of CSRA's systems, processes and
       procedures through interviews with ABC corporate and distribution center personnel and through our
       review of policies, procedures and other supporting documentation supplied by the CSRA team.
       Additionally, we visited three AmerisourceBergen Distribution Centers - one AmerisourceBergen Drug
       Corporation facility and two AmerisourceBergen Specialty Group facilities - which helped to further our
       understanding of critical CSRA processes and activities.

       In considering FTl's findings and recommendations, it is important to understand the specific activities
       performed during our review. Information and data gathering activities included the following:

           •        FTI met with more than 20 AmerisourceBergen personnel through either phone or in-person
                    discussions. A complete listing of the employees interviewed is included as Attachment 5.

           •        FTI conducted site visits to three distribution center facilities, which were recommended by CSRA
                    leadership. During these visits, we met with local compliance and operations personnel and toured
                    the facilities. The sites visited included:
                         o ABDC facility in Bethlehem, Pennsylvania
                         o ABSG - ASD Healthcare facility in Louisville, Kentucky
                         o ABSG - ICS facility in Louisville, Kentucky

           •        FTI reviewed documentation related to CSRA's business operations including, but not limited to, the
                    following:
                         o CSRA organizational charts;
                         o CSRA policies and procedures;
                         o Sample checklists, templates and reports;
                         o Systems for tracking and reporting compliance information; and
                         o Project management templates and documentation.

           •        FTI participated in demonstrations and reviewed screen shots from existing systems and tools
                    currently utilized by CSRA.

           •        FTI participated in bi-weekly status calls with the CSRA core project team.




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       Map and Assess Current State Processes
       In order to document our understanding of the current state processes and facilitate our assessment of said
       processes, FTI completed a baseline mapping of the key processes and activities relevant to each of the
       CSRA functional areas. The process flow diagrams reflect the key steps and communication of activities and
       information, as well as the critical documentation, tracking and reporting requirements for any potential
       matter management solution. The process flows are supported by additional procedural documentation,
       including a function overview that further articulates those requirements.

       The process documentation packages, including a function overview, a process flow diagram, and a detailed
       narrative of the process steps, address the following activities and are included as Attachment 3:




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       I. Diversion Control
                                              A) Customer Due Diligence                                    Diversion Control Process Flow
                                              B) Daily Order Investigations                                Diversion Control Process Flow
                                              C) Ongoing Monitoring Activities                             Diversion Control Process Flow
       II. Regulatory Oversight• Audits
                                              A) Corporate Security & Regulatory Compliance Audits         Audit Process Flow
                                              B) Health & Safety Program Inspections                       Audit Process Flow
                                              C) Other Corporate CSRA Audits                               Audit Process Flow
                                              D) DC Targeted Visits                                        Audit Process Flow
                                              E) DC Self Audits                                            Audit Process Flow
                                              F) External Agency Audits                                    Audit Process Flow
       II. Regulatory Oversight• Compliance
                                              G) Facility Licensure                                        Regulatory Compliance Overview
                                              H) State & Federal Regulatory Matrix                         Regulatory Compliance Overview
                                              I) Compliance Monitoring Activities                          Regulatory Compliance Overview
                                              J) Controlled Substance Requirements                         Regulatory Compliance Overview
                                              K) Compliance Training                                       Regulatory Compliance Overview
                                              L) Customer Files                                            Regulatory Compliance Overview
                                              M) Associate Files                                           Regulatory Compliance Overview
                                              N) Committee Activities                                      Regulatory Compliance Overview
       Ill. Investigations
                                              A) Inbound/Outbound Product Loss                             Investigations Process Flow
                                              B) Fraud or Forgery Issues                                   Investigations Process Flow
                                              C) Robbery or Theft                                          Investigations Process Flow
                                              D) Workplace Violence                                        Investigations Process Flow
                                              E) Company Policy Violations                                 Investigations Process Flow
                                              F) Safety Concerns                                           Investigations Process Flow
                                              G) Compliance Reports - Network & Non-Network                Investigations Process Flow
                                              H) Other Investigations                                      Investigations Process Flow
       IV. Compliance Complaints {Network Callsl
                                              A) Business Conduct/Ethics Issues                            Network Calls Process Flow
                                              B) Compliance Violations                                     Network Calls Process Flow
                                              C) Employee Relations                                        Network Calls Process Flow
                                              D) Reporting of Unusual Circumstances                        Network Calls Process Flow
                                              E) Monthly & Quarterly Reporting                             Network Calls Process Flow
                                              F) Annual Corrective Action Log                              Network Calls Process Flow
       V. Security Programs
                                              A) Security Inspections                                      Security Programs Processes
                                              B) Facility Security Projects                                Security Programs Processes
                                              C) Security Systems Management                               Security Programs Processes
                                              D) Background Checks                                         Security Programs Processes
       VI. Business Continuity
                                              A) Business Interruptions                                    Business Continuity Process Flow
                                              B) Emergency Situation                                       Business Continuity Process Flow
                                              C) Weather or Natural Disaster                               Business Continuity Process Flow
                                              D) Incidents of Violence                                     Business Continuity Process Flow
                                              E) Loss of Communications                                    Business Continuity Process Flow
                                              F) Other Events                                              Business Continuity Process Flow
                                              G) Business Continuity Documentation                         Business Continuity Process Flow
       VII. Other CSRA Projects
                                              A) Policies and Procedures                                   Document Repository
                                              B) New Business Ventures                                     Document Repository
                                              C) Information Requests                                      Document Repository
                                              D) Third Party Vendor Due Diligence                          Document Repository
                                              E) Departmental Documentation                                Document Repository
       VIII. Project Management
                                              A) Project Tracking                                          Project Management Overview
                                              B) Project Management                                        Project Management Overview
                                              C) Project Reporting                                         Project Management Overview




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       Findings and Recommendations

       FTI reviewed and evaluated CSRA's current state processes to identify existing gaps and opportunities for
       potential improvements. We have identified several recommendations that are designed to:
           •           Strengthen the effectiveness of the Company's compliance efforts;
           •           Increase efficiencies and promote consistency across the organization; and
           •           Drive more effective utilization of staff and resources.

       A summary of key themes that resulted from our review is provided below, which is supplemented by a
       detailed inventory of our findings, observations and recommendations by functional area in the Findings
       Matrix provided as Attachment 1. Each recommendation in the Findings Matrix includes the rationale
       supporting the recommendation, the risk area(s) addressed by the recommendation and the objectives(s)
       achieved by implementing the recommendation. We also wanted to call attention to several macro-level
       recommendations related to risk management that resulted from our collective effort to understand the
       breadth of CSRA activities.

       Significant portions of AmerisourceBergen's growth have been due to strategic acquisitions and
       diversification of its services, which presents cultural, technical and procedural integration challenges. In
       anticipation of future acquisitions, CSRA should work to develop a Compliance Integration plan that outlines
       the process for evaluating and integrating potential new businesses from a risk and compliance perspective.
       In short, senior CSRA leaders should be involved in the company's due diligence activities related to
       potential acquisitions in order to understand and define the scope of regulatory, security, and compliance
       risk a target may represent to ABC. Furthermore, CSRA- either within ABC's current acquisition integration
       program or outside of it to the extent one does not exist - should develop an integration plan to facilitate
       CSRA onboarding the regulatory, security, and other compliance functions of the target into CSRA's
       organization and infrastructure. This includes auditing activities, investigations, hotline reporting, P&P
       development, training, security protocols, and business interruption activities.

       As ABC continues to grow and evolve as an organization, the CSRA team will need to adapt to the changing
       landscape. CSRA will not be able to rely on the tried and true procedures developed to oversee drug
       distribution, but will instead need to develop new protocols and identify ways to meet the increasing
       demands more efficiently by working smarter, not harder. Given that ABC is now a Fortune 20 company, it
       will be subject to increased and additional scrutiny by regulators and litigators. As such, CSRA should
       perform an annual risk assessment across each of the business units and reconcile the results of that risk
       assessment against CSRA's planned activities for the upcoming year- particularly the design of its audits and
       training content - to ensure key risks and/or emerging risks are addressed.

       There are also several basic blocking and tackling items that CSRA needs to address related to:
           •   People: Defining Roles and Responsibilities (Organizationally and within CSRA);
              •        Processes: Addressing Inconsistent or Inefficient Processes; and
              •        Systems: Centralizing the Tracking and Reporting of Information.

       As a general statement, most everyone we spoke with was enthusiastic about our presence and the
       Company's investment in an outside team to help identify areas for improvement and facilitate change.
       CSRA team members also seemed to appreciate having a channel through which to provide their thoughts
       and feedback, and were very positive about the Company and the work that CSRA does. The CSRA
       resources that we interacted with were very knowledgeable with respect to their subject areas, although at




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       times it was challenging to nail down their specific scope of responsibilities. Because the roles and
       responsibilities of CSRA personnel are somewhat ill-defined, CSRA team members sometimes end up
       performing activities outside of their purview which detracts from the utilization of these resources. CSRA
       should task their Policy and Procedure Committee with completing a comprehensive review and overhaul of
       CSRA's policies and procedures to ensure they reflect the current roles, responsibilities and protocols. In
       doing so, the policies should apply broadly to all business units and the SOPs should provide the necessary
       guidance regarding how to handle the specific day-to-day activities for each business unit.

       A large volume of work and responsibility falls to CSRA with respect to managing regulatory compliance and
       security activities, and some team members indicated that it is difficult to keep up with the demands. This
       may be because they have not received adequate training or because the team is not sufficiently staffed
       with the necessary resources or expertise.

       For the most part, CSRA team members do not receive much in the way of formal training and instead are,
       in the best case, provided informal training by being paired with a more experienced resource for a brief
       onboarding period. As a result, some CSRA personnel feel overwhelmed by the volume of activities they are
       required to perform, the administrative demands of their position and the lack of direction that they are
       provided. CSRA needs to standardize, improve and/or develop more specific training by discipline and job
       function. The training also needs to address regulatory compliance activities and help CSRA personnel learn
       to view their activities through a risk management lens. Along the same lines, leadership should review and
       evaluate the competencies of the Compliance Managers and Clerks to determine where additional training,
       support or resources may be necessary and focus on improved tracking and managing of resource allocation
       and workload.

       Another area that may serve to strengthen the effectiveness of CSRA is to better define CSRA's position
       within the organization. Perhaps most importantly, CSRA needs to define its role in providing oversight to
       the specialty businesses and non-distribution services. Although we did not conduct a detailed assessment
       of each business unit, we suspect there is limited visibility, connectivity and oversight to certain subsidiary
       businesses and there appears to be disconnect between the corporate teams in Valley Forge and Frisco.
       There is also an impression that the Specialty Group and sister companies do not recognize CSRA as an
       authoritative body and do not have any meaningful contact or communications with CSRA. Even for those
       business units where there is some CSRA involvement, CSRA may not be focused on the risks specific to each
       organization because CSRA protocols are deeply seeded in monitoring the drug distribution centers.
       Organizationally, ABC needs to establish and define the scope of CSRA's organizational responsibilities,
       reconcile those activities to existing standards and practices, identify and mitigate any gaps, and ensure
       adequate communication, oversight and reporting. In addition, CSRA needs to change its mindset when
       engaging with business units that provide non-distribution services, because the same standards won't
       necessarily apply. As such, CSRA should conduct a "deep-dive" into scoping the risk and activities relevant
       to each of the additional business units.

       Similarly, establishing the delineation of regulatory and compliance responsibilities and defining the rules of
       engagement by and between CSRA and other corporate departments that are involved with "compliance
       activities" is critical in terms of defining ABC's risk management program. During our discussions, and even
       during our pre-planning for the project, there was recurring mention of other areas of the organization with
       compliance responsibilities. While that is a good sign that the infrastructure is in place to perform
       compliance related activities, it does indicate - especially with the run of acquisitions - that compliance
       responsibilities are too diffuse or their ownership unclear. That creates the potential that compliance
       activities are not occurring because "left hand doesn't know what the right hand is doing", or because




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       there's an assumption that someone else in the organization is taking care of it. Regulatory and compliance
       activities need to be documented in a Regulatory and Compliance Program Plan which is reviewed and
       refreshed annually by compliance leadership, with input from senior management. These practices work
       together to serve as the foundation for ensuring the organization is maintaining and evolving its regulatory
       infrastructure to respond to changes in the business timely and appropriately.

       There is a sense that some compliance and other corporate initiatives do not fully consider the burden that
       these organizational changes put on the compliance resources. For example, the centralization of certain
       support functions such as Customer Care and Human Resources did not adequately contemplate the
       downstream effect in terms of delays and inconsistent information provided to the local Compliance
       Managers. Not involving CSRA in operational initiatives limits the ability to head off issues that may
       ultimately present compliance challenges or concerns.

       CSRA is very reactive to situations, with certain team members describing their job as "constantly putting
       out fires." Being in a perpetual state of reacting to situations makes it difficult to implement and sustain
       organizational improvements and prevents resources from focusing on assigned projects. CSRA should
       strive to be more proactive in their activities, which starts by better defining roles, responsibilities and
       procedures and getting away from the mentality that "this is how we've always done it." As ABC continues
       to grow and expand into new service offerings, the demands on CSRA will continue to increase and will
       require team members to be proactive in their work.

       CSRA appears to have many initiatives underway to strengthen the efficacy of the group, but remains largely
       reactive to issues and requests. In light of the fact that efforts are in progress, we recommend leveraging
       the established committees, particularly to address some big ticket items such as improving policies and
       procedures, defining roles and responsibilities and enhancing training. The existing committees are as
       follows: Audit Committee; Policy Committee; Standardization Committee; Training Committee; and
       Conference Planning Committee.

       For the most part, CSRA has good processes in place but struggles with documenting and providing visibility
       to those efforts. The organization suffers from decentralized and segmented tracking and documentation of
       information and activities, which results in limited reporting and tracking of workload, as well as a lack of
       access to timely and comprehensive information across CSRA. The risk here is management by intuition,
       rather than having the data and analysis to support strategic decisions and resource planning.

       CSRA personnel have developed personal tools and logs for the tracking of matters and issues, but there is a
       lack of clear policy guidance on determining what should be elevated to the corporate levels or the
       appropriate channels or departments through which issues should be reported. Automating the process to
       allow for electronic submission and tracking of complaints, issues and incidents will both streamline the
       reporting process and allow for more systematic investigation, tracking and resolution. Similarly, creating
       electronic versions of forms, checklists and reports that can be completed online will improve efficiencies,
       reduce duplicative efforts and provide a more robust database of information to be analyzed and reported.

       Across all CSRA functions, and most particularly at the facilities, there is a large volume of paperwork to
       maintain, to the point that some CSRA personnel view their role as administrative rather than regulatory.
       Certain DEA Forms and other required documents will continue to require manual completion and physical
       storage. However, there are a number of forms and checklists that can be streamlined and/or transitioned
       to electronic form. Where possible, CSRA should eliminate the need to record information on paper forms
       that then need to be entered into an electronic repository. This may require an investment in tablets or




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       laptops for CSRA resources, but the bottom line is that a better balance could be struck such that high
       standards of compliance are maintained while the administrative burden of paper processes on CSRA
       resources is lessened.

       Many of CSRA's challenges stem from inefficient and time consuming manual processes and activity tracking
       that could benefit from improved technology solutions. In fact, CSRA personnel were consistent in stating
       that the lack of an integrated matter management system creates significant process challenges, particularly
       as it relates to managing, tracking, reporting, and documenting department activities and workflows.
       Implementing a centralized and comprehensive system and repository to manage regulatory compliance
       and security requirements where different constituents across the organization can enter and access
       information, supported by standardized and automated reports, dashboards and notifications, would
       significantly enhance some of the highly manual activities and provide better oversight to CSRA's activities
       and results. Some of the key benefits of such a matter management solution would include:
            •    Integrated and centralized solution that provides a holistic view to all CSRA functions and activities
            •    Customizable and scalable platform that can grow with the business
            •    Improved data capture at the point of intake
            •    Streamlined and automated workflows to drive consistencies and reduce costs
            •    Utilization of data in order to identify and mitigate risks more proactively
            •    Shared access to information and documentation
            •    Oversight to CSRA processes through management reporting
            •    Platform for increased and consistent communications

       The Process Documentation packages provided as Attachment 2 include an initial inventory of the
       representative matter management considerations for each function area, including:
           •   Key Activities and/or Matter Types to be documented
           •   Reference Documents and Guidelines to make available
           •   Documents, Forms and Checklists to be completed
           •   Critical Tracking and Reporting requirements


       The Findings Matrix included as Attachment 1 provides specific findings and recommendations related to
       each of the CSRA Functional Areas that were reviewed. We have provided below some overall impressions
       and commentary regarding each of those Functional Areas below:



       I.   Diversion Control

       CSRA is responsible for ABC's Diversion Control Program, which is designed to prevent and detect the
       diversion of controlled substances and listed chemicals. The CSRA Diversion Control Team is in the process
       of implementing a number of process and system improvements, so we've limited our comments on this
       function to a couple of key observations and risk areas.

       As part of the Diversion Control process, orders of controlled substances and listed chemicals are subject to
       review by the electronic Order Monitoring Program. Orders that exceed established parameters are held in
       the system and identified for investigation prior to adjudication of the order. ABC does not have a policy to
       determine which associate(s) at the distribution center are responsible for reviewing orders. Although all
       associates who have access to the OM P system are required to be trained in reviewing orders, there is no




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       consistency with respect to who is reviewing these orders. This presents a significant risk area because the
       company needs to be compliant with DEA regulations and able to explain and defend their decisions.

       In addition, centrally tracking and documenting the customer due diligence files and ongoing monitoring
       activities will allow for better access to information, better ability to respond to requests for information
       and more complete management oversight.



       II. Regulatory Oversight

       CSRA provides regulatory compliance and security assistance to all ABC distribution centers and other
       business units. Performing on-site audits is a primary function of CSRA. The current audit tools are very
       comprehensive, but also manual and time consuming to complete. Adjustments to CSRA's approach to
       auditing may help to better align the process with the Company's risk areas and business structure while
       making audits more efficient and effective. Accordingly, we have identified several recommendations for
       audit program adjustments and system improvements related to the testing, analysis and reporting that
       focus on better and timelier collection and utilization of audit data and information.

       There are a host of additional responsibilities and activities related to ensuring regulatory compliance that
       fall to the CSRA team. These activities range from maintaining facility licensure to managing regulatory
       reporting obligations to ensuring all associates have received requisite compliance training. With these
       responsibilities comes the need to complete and maintain a great deal of forms, checklists and
       documentation, as well as numerous tracking and reporting responsibilities, which can all be addressed
       through a more comprehensive Matter Management Solution.




       III. Investigations

       CSRA is responsible for conducting investigations in order to respond to reports of incidents that relate to
       the internal security, safety and regulatory compliance of the Company or affect its personnel, property,
       facilities or proprietary interests. There are established processes for conducting investigations, although
       there are some inconsistencies in defining the roles and responsibilities for handling incidents, incomplete
       guidance with regard to documenting investigations and a lack of formal training for investigators.

       Our recommendations in this area primarily address the specific business and functionality requirements
       that should be considered in the development of a single, integrated solution and improvements that will
       assist with the tracking, reporting and monitoring of investigatory activities. Coupled with improved
       governance around the processes and responsibilities, a better technology solution will help to drive
       consistencies in conducting investigations, ensure outcomes of investigations are adequately documented,
       and provide better visibility and oversight to management through centralized and automated tracking,
       trending and reporting.



       IV. Compliance Complaints (Network Calls)

       CSRA is responsible for responding to reports of potential compliance violations and alleged wrongdoing
       received through the Compliance Incident Reporting program ("The Network"). Our recommendations in




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       this area focus less on the process for receiving and addressing Network Calls and more on the efficiencies
       that can be gained through a better technology solution that would allow for more automated work flows,
       activity tracking and management reporting.



       V. Security Programs

       CSRA is responsible for physical security systems, programs and activities at all ABC facilities. The scope of
       activities that fall within the purview of CSRA's Security Services team range from performing security
       inspections, overseeing the security systems and programs installed at ABC facilities, and monitoring the
       background screening process to ensure hiring practices are compliant with Company policies. With respect
       to the background screening process and other security programs, a technology solution would offer better
       controls around those activities, as well as potentially better utilization of resources through more
       automated tracking and reporting.



       VI. Business Continuity

       CSRA is responsible for the oversight of the Company's Business Continuity Program, which requires that all
       business units have a plan that outlines the standards, action and communications associated with
       responding to anticipated or actual business interruptions. Our recommendations in this area focus less on
       the process for addressing business interruptions, which may require further study, and more on the
       efficiencies that can be gained through a better technology solution that would allow for automated work
       flows and reporting.




       VII.General Purpose CSRA Projects

       At any point in time, there are a number of other projects that fall within the purview of CSRA and need to
       be documented and tracked. Documents and information managed or created by any CSRA projects would
       flow into and be maintained within in the Matter Management Solution.

       There are additional regulatory oversight and compliance activities required to be performed by specific
       business units or subsidiaries, depending on the services offered. Although we have not developed a full
       inventory of these activities across each of the business units, any Matter Management Solution would
       contemplate the ability to incorporate the documentation and tracking of such activities. Some of these
       additional activities might include, but certainly are not limited to, the following:
           •   Quality Management and Metrics
           •   Accreditation and Licensure
           •   Adverse Event Reporting
           •   HIPAA Disclosures



       VIII.     Project Management

       CSRA recently added a Project Manager to the team who is responsible for managing, tracking and reporting
       on projects and activities. In considering the Project Management function, we have conducted a



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       preliminary inventory of the different forms and types of project documents that would be maintained
       within a Matter Management Solution.




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       Listing of Attachments

       Attachment 1.   Findings Matrix
       Attachment 2.   Matter Management Solution Requirements
       Attachment 3.   Functional Area Process Documentation
       Attachment 4.   CSRA Business Unit Oversight Document
       Attachment 5.   Personnel Interviewed




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